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Attorney for Defendant



                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                                  No. 03:18-cr-000262-JO

                                   Plaintiff,
                                                    DECLARATION OF COUNSEL IN
                       v.                           SUPPORT   OF   DEFENDANT=S
                                                    UNOPPOSED THIRD MOTION TO
TILER PRIBBERNOW,                                   CONTINUE TRIAL

                                Defendant.


         I, Amy Baggio, declare under penalty of perjury, that the following statements are true

to the best of my knowledge, information and belief:

         1.       I represent the defendant, Tiler Pribbernow, as court-appointed counsel

pursuant to the Criminal Justice Act (CJA). This declaration is in support of Mr. Pribbernow’s

request to continue the current trial date of February 5, 2019, for 45 days, or until on or about

March 19, 2019.




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       2.       On June 5, 2018, a federal grand jury charged Mr. Pribbernow with one count

of possession of a firearm by a felon. (CR-1).

       3.       On June 6, 2018, the Court entered an Order appointing me to represent Mr.

Pribbernow and set an initial trial date of August 7, 2018. (CR-8.)

       4.        On July 13, 2018, the government filed an indictment against Mr.

Pribbernow in a related case, 18-cr-000319-JO, in which Mr. Pribbernow and two co-

defendants are charged with three offenses: Murder in Aid of Racketeering; Kidnapping in

Aid of Racketeering, Resulting in Death; Kidnapping Resulting in Death; and Conspiracy to

Commit Kidnapping, Resulting in Death. Mr. Pribbernow pled guilty in case 18-cr-000319-JO

in November 2018 (CR-73); the case is scheduled for sentencing on February 13, 2019, but

the parties are expected to ask the Court to postpone that sentencing hearing.

       5.       A third continuance of the current trial date for 45 days is reasonable in order

to provide a sufficient time period in which I can consult with Mr. Pribbernow with regard to

the interaction of these two related cases, confer regarding disposition of the above-referenced

case, and work with other members of my defense team in order to properly represent the

defendant on the related matters.

       6.       Mr. Pribbernow is in the custody. (CR-9.)

       7.       I have conferred with AUSA Leah Bolstad. The government has no objection

to this request to continue the current trial date.




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       8.       I have consulted with my client, Tiler Pribbernow. Mr. Pribbernow agrees with

this request for continuance, understands the rights provided by the Speedy Trial Act, and

waives those rights in light of the reasons for the requested continuance.

       9.       This declaration is made in good faith and in support of the Defendant’s

Unopposed Third Motion To Continue Trial Date.

       10.      I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

       DATED this 22nd day of January, 2019.


                                             /s/ Amy Baggio
                                            Amy Baggio, OSB #011920
                                            503-222-9830
                                            Attorney for Defendant Pribbernow




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